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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0875V
                                    Filed: February 9, 2017
                                        UNPUBLISHED

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JON MARTIN,                                *
                                           *
                     Petitioner,           *     Ruling on Entitlement; Concession;
v.                                         *     Influenza (“Flu”) Vaccine; Shoulder
                                           *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                        *     (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                        *     (“SPU”)
                                           *
                     Respondent.           *
                                           *
****************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

      On July 25, 2016, Jon Martin (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he received an influenza (“flu”) vaccine in his left
arm on October 10, 2015, and subsequently suffered an injury to his left shoulder
secondary to the vaccination. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On February 9, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states that “the alleged injury is consistent with a shoulder
injury related to vaccine administration (‘SIRVA’),” and that no “other causes for
petitioner’s injury” were identified. Id. at 4. Respondent further agrees that petitioner


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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suffered the condition for more than six months and therefore, has satisfied all legal
prerequisites for compensation under the Act.” Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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